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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-1272V
                                      Filed: June 18, 2018
                                         UNPUBLISHED


    NICOLE MARSHALL,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Table Injury; Influenza (Flu) Vaccine;
                                                             Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH                                      Administration (SIRVA)
    AND HUMAN SERVICES,

                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.
Justine Elizabeth Walters, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
       On September 15, 2017, Nicole Marshall (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered from a
shoulder injury related to vaccine administration (“SIRVA”) as a result of receiving an
influenza (“flu”) vaccination in her left arm on August 29, 2016. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.
       On June 15, 2018, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent states that “DICP has concluded that petitioner’s claim

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  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).

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meets the Table criteria for SIRVA. Specifically, petitioner had no history of pain,
inflammation or dysfunction of the affected shoulder prior to intramuscular vaccine
administration that would explain the alleged signs, symptoms, examination findings,
and/or diagnostic studies occurring after the vaccine injection; she suffered the onset of
pain within forty-eight hours of vaccine administration; her pain and reduced range of
motion were limited to the shoulder in which the intramuscular vaccine was
administered; and there is no other condition or abnormality present that would explain
petitioner’s symptoms. Therefore, petitioner is entitled to a presumption of vaccine
causation.” Id. at 4. Respondent further agrees that “the records show that the case
was timely filed, that the vaccine was received in the United States, and that petitioner
satisfies the statutory severity requirement by suffering the residual effects or
complications of her injury for more than six months after vaccine administration” and
thus, respondent concedes that entitlement to compensation is appropriate under the
terms of the Vaccine Act. Id. at 4-5.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.
IT IS SO ORDERED.
                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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